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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:14CR228
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )            TENTATIVE FINDINGS
                                             )
ASHLEY O'FLAHERTY,                           )
                                             )
              Defendant.                     )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”). The parties have not filed objections to the PSR. See Order on

Sentencing Schedule, ¶ 6. The Court takes note that even though the parties did not file

formal objections, but they did present objections in the Addendum to the PSR. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The parties’ informal objections will be heard at the sentencing hearing and

the Court intends to adopt the parties’ plea agreement;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 24th day of August, 2015.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                               2
